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                           IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



  IN RE: EAST PALESTINE                             )          CASE NO. 4:23-cv-00242-BYP
  TRAIN DERAILMENT                                  )
                                                    )
                                                    )
                                                    )          JUDGE BENITA Y. PEARSON
                                                    )
                                                    )


                 ORDER FOR DISCOVERY OF ELECTRONICALLY STORED
                   INFORMATION (“E-DISCOVERY”) BY DEFENDANTS

 I.       INTRODUCTION

          The procedures and protocols outlined in this Order (the “Protocol”) govern the production

of discoverable ESI and hard-copy documents (collectively, “Discoverable Information”) by

Defendants in the above-captioned action (the “Action”). This Protocol supersedes prior pretrial

orders issued in this Action to the extent they are inconsistent with this Protocol’s provisions.

II.       IDENTIFICATION OF RESPONSIVE DOCUMENTS AND ESI

          Sources of Discoverable Information. Plaintiffs and Defendants (collectively, the “Parties”)

agree to meet and confer regarding compilation of a reasonable list of custodians likely to have

unique, relevant, and responsive ESI, as well as identification of any other potentially relevant data

sources, including custodial, non-custodial, and third-party information. The Parties reserve the

right to meet and confer to discuss supplementing the initial list of custodians.

 III.     PRESERVATION AND COLLECTION

          A.     Not Reasonably Accessible ESI. The Parties agree that the circumstances of this

litigation do not warrant the preservation, collection, review, production, or identification on a

privilege log of ESI that is not reasonably accessible. For purposes of this paragraph, the Parties
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agree that the following sources of ESI are not reasonably accessible:

               1.     Data remaining from systems no longer in use as of the date of this Protocol

       that is unintelligible to and inaccessible by any commercially available systems.

               2.     ESI stored in volatile and non-volatile memory (including but not limited to

       Random Access Memory (“RAM”), Read-only Memory (“ROM”), and cache memory) or

       in temporary or cache files (including but not limited to internet history, web browser

       cache, and cookie files), wherever located.

               3.     ESI stored as server, operating system, or network logs.

               4.     Temporary internet files, history, cache, cookies, and the like.

               5.     Encrypted ESI/password-protected files, where the key or password cannot

       be ascertained without extraordinary efforts.

               6.     ESI affected by ransomware or malware or that otherwise has been corrupted

       or is otherwise unable to be processed without extraordinary efforts.

               7.     ESI stored on photocopiers, printers, scanners, and fax machines.

               8.     Other file types as agreed to by the Parties.

 This Protocol does not prevent any Party from asserting, in accordance with the Federal Rules of

 Civil Procedure, that other categories of ESI are not reasonably accessible within the meaning of

 Rule 26(b)(2)(B).

       B.      M365 Content. The Parties agree to meet and confer to discuss the most reasonable

means to produce content stored within the M365 environment.

       C.      Hyperlinked Content. To the extent it is not readily publicly available, where

feasible, hyperlinked content shall be produced as part of a parent-child relationship with any

document containing such a hyperlink.




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        D.       Hard-Copy Documents. Hard-copy documents are to be scanned and produced

electronically as images in the same order in which they are maintained in the ordinary course of

business. The Parties agree to treat pages that are stapled, clipped, or otherwise clearly appear to

be part of the same document as a single document and to treat documents that clearly appear to be

separate documents as separate documents. For hard-copy documents found in folders or other

containers with labels, tabs, or other identifying information, such labels and tabs shall be scanned

where reasonably practicable; the Parties agree to meet and confer if the Producing Party believes it

would not be reasonably practicable to scan such labels and tabs. Original document orientation

(i.e., portrait v. landscape) should be maintained to the extent practicable.

IV.     PROCESSING AND FILTERING

        A.       De-NISTing System Files. ESI productions may be de-NISTed using the industry

standard list of such files maintained in the National Software Reference Library by the National

Institute of Standards & Technology as it exists at the time of de-NISTing. 1

        B.       Time Zones. To the extent reasonably practicable, ESI should be processed with a

consistent time zone within a Producing Party’s productions, and the time zone used shall be

disclosed to the Requesting Party. Absent an agreement between a Requesting Party and a

Producing Party to the contrary, the default time zone for processing shall be Eastern Standard

Time with a daylight savings offset.

        C.       Other Files and File Types Excluded. Defendants may filter out the following files

or file types:

                 1.       ESI affected by ransomware or malware or that otherwise has been corrupted

        or is unable to be processed without extraordinary efforts.


1
 The current NIST file list is published by the National Software Reference Library (NSRL) and can be found here:
https://www.nist.gov/itl/ssd/software-quality-group/national-software-reference-library-nsrl.


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                  2.      Temporary internet files, history, cache, cookies, and the like.

                  3.      ESI stored as server, operating system, or network logs.

                  4.      Files that are zero bytes in size (i.e., do not contain content).

                  5.      Other files or file types as agreed to by the Parties.

        D.        Embedded Documents. Embedded documents from ESI (e.g., a spreadsheet

embedded within a word processing document) will, to the extent possible, be extracted and treated

as child documents and related back to their top-level parent documents (e.g., standalone file, email

message, etc.).

        E.        Embedded Objects. Embedded objects within documents or ESI (including but not

limited to logos, icons, emoticons, and footers) may be culled, provided they are produced within

the document itself.

        F.        Deduplication. The Parties agree that production of documents and ESI globally

deduplicated in accordance with the provisions of this ESI Protocol shall constitute production of

documents as maintained in the ordinary course of business. A Producing Party will make

reasonable efforts to globally deduplicate identical ESI within their own productions, as follows:

                  1.      No Producing Party shall be required to conduct manual review to eliminate

        duplicates, including but not limited to hard-copy documents that are exact duplicates of

        electronic versions.

                  2.      Electronic Documents that Are Not Email (“EFiles”). Duplicate non-email

        ESI (such as Microsoft Word documents) may be identified based upon MD5 or SHA-1

        hash values for binary file content. All ESI bearing an identical value are a duplicate group.

        The Producing Party may produce only one document image or native 2 file for duplicate



2For purposes of this Protocol, “Native Format” or “Native File” means the format in which ESI was used and stored
by the Producing Party in its ordinary course of business.

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        ESI documents within the duplicate group, however, the Producing Party will identify the

        additional custodian(s) (i.e., “AllCustodians” and “AllFilePaths” metadata fields set forth in

        Appendix B) for duplicate documents not produced. The Parties agree to meet and confer

        to the extent such information cannot be automatically populated with industry standard

        ESI processing tools.

               3.      Email. Duplicate email files may be identified based upon MD5 or SHA-1

        hash values based upon the email family, which includes the parent email and all

        attachments. Email families bearing an identical value are considered a duplicate group.

        The Producing Party may produce only one document image or native file for duplicate ESI

        documents within the duplicate group; however, in the event that email is collected from a

        custodial source, the Producing Party will identify each custodian(s) (i.e., “AllCustodians”

        and “AllFilePaths” metadata fields set forth in Appendix B) from whom the duplicate email

        was collected. The Parties agree to meet and confer to the extent such information cannot

        be automatically populated with industry standard ESI processing tools.

        G.     Password-Protected or Encrypted Files. With respect to any password-protected or

encrypted documents or ESI that are encountered during processing, the Producing Party will take

reasonable steps based on industry standards to break the protection so that the documents can be

reviewed and produced if appropriate.

        H.     The Parties agree to meet and confer in advance of any processing or filtering of

ESI, apart from the items listed above, that removes or excludes documents from human review.

 V.     IDENTIFYING THE REVIEW POPULATION

        A.     Search Methodologies: The Parties recognize and agree that each Party may use one

or more search methodologies to cull, review, and produce responsive, not-privileged Discoverable

Information. The Parties therefore agree to cooperate in good faith regarding the disclosure and


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formulation of appropriate search methodology. The Parties agree to meet and confer regarding

any methodologies that remove Discoverable Information from human review and withhold that

Discoverable Information from production (e.g., search terms, technology-assisted review, or other

culling mechanisms) and the document sources to which they will be applied, prior to the

application of any such methodologies to any ESI source that may contain potentially relevant or

responsive ESI. After meeting and conferring, the Parties may enter into additional agreements or

protocols relating to the search methodologies they will use to satisfy their discovery obligations.

If the Parties are unable to agree on search methodologies, the Parties shall notify the Court of their

unresolved dispute(s) and seek resolution.

       B.      Email Domains and Senders. The Parties agree to meet and confer about emails

from domains and senders typically associated with junk email (e.g., emails related to fantasy

football, retailer advertising, or newsletters or alerts from non-industry sources) to the extent a

Producing Party wants to exclude such email domains or sender addresses as part of its initial filter

of potentially responsive documents. Prior to the application of such filters, the Producing Party

shall propose domains and senders to exclude under this paragraph, and the Parties shall work

cooperatively on agreed methods for excluding the same.

       C.      Email Threading. Due to the importance of the metadata in prior or lesser-included

emails contained in whole or in part in a most-inclusive email, and in order to facilitate reasonable

evidentiary use of emails, production of a most inclusive email thread does not relieve the

Producing Party of its obligation to produce responsive prior or lesser-included emails. No

document shall be withheld from production on the basis that it is included in a produced more-

inclusive email. The Producing Party may, at its discretion, elect to review only the most inclusive

email thread in determining the responsiveness of the prior or lesser-included emails or for any

other internal purpose.


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VI.      PRODUCTION FORMAT

         A.    Rolling Production. The Parties agree to produce documents and data on a rolling

basis when practicable. The Parties will communicate with each other about their respective

priorities for production and agree to use good faith efforts to respond to reasonable requests for

prioritized production, taking into account the volume of information at issue, the relative

accessibility of information, efficiencies in the process of search and review, and the additional

processing time required for certain types of ESI.

         B.    General Production Format. Defendants shall produce Discoverable Information in

the format specified in this Section VI and in Appendix A (Additional Production Specifications).

Generally, Discoverable Information will be produced in native format, accompanied by document-

level text files containing searchable text and metadata load files as described in Appendix A,

unless otherwise specified.

         C.    ESI Only Readable on Proprietary Software. To the extent that Defendants identify

responsive documents that are only readable on proprietary software, the Parties shall meet and

confer to discuss methods for extracting and producing, or inspection of, such data. If the Parties

are unable to agree on a method for such production, the Parties shall submit any dispute to the

Court.

         D.    Structured Databases. To the extent the Plaintiffs request data or information (other

than email) that is stored in a structured database or aggregated database (including but not limited

to Oracle, SQL Server, DB2, Microsoft Access (*.mdb), Lotus Notes/Domino Server non-email

databases), the Defendants will make reasonable and prompt efforts to determine the methods by

which such data can be produced, and the Parties agree to meet and confer to address the

production and production format of the responsive data, including (1) the nature and scope of the

ESI contained in the database, (2) the business purpose for the database, (3) the organization of ESI


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contained in the database, including any schema, tables, columns and fields, (4) the existence and

feasibility of standard and custom reporting and exporting features. After such conferral, the

Parties shall agree on a production format for the structured data at issue. To the extent the Parties’

agreed production format for a given set of structured data is not feasible or causes the Defendants

undue burden, the Parties agree to meet and confer to discuss a different form of production.

Nothing in this Protocol will be interpreted to require the disclosure of information protected by the

attorney-client privilege, the work product doctrine, or any other applicable privilege or protection

during either the conferral process or, if necessary, when seeking the Court’s intervention.

       E.      Numbering/Endorsement. The Parties agree to meet and confer if there are any

disputes regarding the specific details of numbering and endorsement format.

               1.      All produced documents will be Bates-numbered as described in this

       paragraph and as further detailed in Appendix A. For documents produced in image

       format, each page will have a unique, sequential Bates number; for other documents (e.g.,

       native files), a single Bates number will be assigned to the document. A produced

       document’s first or only assigned Bates number will serve as its unique Control ID with

       which the produced file will be named.

               2.      Where information or materials have been redacted, the Producing Party

       shall reflect such redaction with a “Redacted” label “burned” onto the document’s image in

       the same area(s) as the redacted information appears. Failure to comply with this procedure

       shall not waive any protections. For the avoidance of doubt, this provision is not intended to

       expand any Party’s right to redact material within responsive documents.

       F.      Form of Production/Color. All files will be produced in native format by default,

except for (1) email and (2) non-spreadsheet files that are redacted for privilege, which may be

produced as images. Where a document produced in image format contains color, and that color is


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crucial for understanding of the document, such images will be produced in color, without the need

for a specific request by the receiving Party, by default. Other images may be produced in black

and white.

        G.       Redaction of Confidential Personal Information. Except where relevant to an issue

in this Action (including but not limited to claims, defenses, and damages) and not otherwise

protected, Defendants may redact any document or metadata field containing Confidential Personal

Information. For purposes of this Protocol, Confidential Personal Information does not include an

individual’s name, but does include an individual’s personal contact information (e.g., domains of

personal email addresses, personal phone numbers, and residential address), social security

number, personal financial information (e.g., bank account numbers, and credit card numbers), and

medical or health information (e.g., “Protected Health Information” as defined under the Health

Insurance Portability and Accountability Act and its implementing regulations (45 C.F.R. Parts

160-164)). For the avoidance of doubt, an individual’s personnel or employment records, including

information relating to an individual’s compensation by Norfolk Southern, are not Confidential

Personal Information in their entirety, but may contain Confidential Personal Information as

defined herein, such as Protected Health Information. Documents that are redacted for this purpose

must be so marked on the redaction text.

        H.       Entire Document Families. A Document Family 3 will be produced together and will

be consecutively Bates-numbered, with parent documents followed immediately by all child

document(s). Family members that are withheld on the basis of privilege shall be produced as

slipsheets indicating the basis of withholding. The Document Family must be identified using the


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 “Document Family” means a group of related documents. A “parent document” is an electronic file that includes,
attaches, references, or embeds, at least one other electronic file (a “child document”) by means of any kind of
attachment or hyperlink. A “Document Family” includes messages (e.g., email or chats) sent in any platform used or
controlled by Defendants, including the M365 environment, that point to a file that is stored elsewhere within any
platform used or controlled by Defendants, including the M365 environment (e.g., OneDrive or SharePoint).

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 “BegAttach” and “EndAttach” fields designating the beginning and ending of each Document

 Family, in accordance with Appendix B.

          I.       Production Delivery. The Producing Party shall produce document images, native

 format files, text files, and load files by secure FTP or other secure electronic transfer system or

 document repository; or by other mutually agreeable method. For productions delivered via

 electronic transfer, the Producing Party shall provide a letter containing the information that would

 otherwise be on the label. Each production shall be accompanied by an index identifying, at a

 minimum: (1) the date of the production, (2) the custodians with data in the production and/or the

 structured data sources that are found within the production, (3) the Bates range of documents in

 the production. To the extent that a production includes any confidential information protected

 under any applicable protective order filed with the Court, the label or letter for that production

 shall indicate as much. All methods of delivery must be encrypted or, if not possible, at least

 password-protected; the Producing Party will provide a decryption key or password under separate

 cover at the time of production.

VII.      PRIVILEGE

          The Parties agree to meet and confer to address issues related to privilege, including an

 appropriate non-waiver order under Fed. R. Evid. 502(d), and the timing, content, and format of

 privilege logs.

VIII.     GENERAL PROVISIONS

          A.       Discoverability and Admissibility. This Protocol does not address, limit, or

 determine the relevance, discoverability, agreement to produce, or admissibility of ESI. Nothing in

 this Protocol shall be construed to affect the admissibility of any document or data. All objections,

 including but not limited to the non-discoverability or inadmissibility of any document or data, are




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preserved and may be asserted at any time.

       B.      Producing Party’s Right to Review Own Documents. This Protocol does not limit a

Producing Party’s right to conduct a review of documents, ESI, or information (including

metadata) for relevance, responsiveness, and/or segregation of privileged and/or protected

information before production.

       C.      Proportionality. The Parties agree to take the proportionality considerations

addressed in the Federal Rules of Civil Procedure into account for purposes of preservation and

production of ESI and paper documents in this Action.

       D.      Non-Party Documents. A Party that issues a subpoena (“Issuing Party”) upon any

non-party shall include with the subpoena a copy of this Order and any protective orders agreed to

or entered in this Action. The Issuing Party shall inform the recipient of the subpoena that the

Parties in this Action have requested that non-parties produce documents in accordance with the

specifications set forth in this Protocol to the extent reasonably feasible. The Issuing Party shall

promptly produce to all other Parties a copy of any documents and ESI (including any metadata)

obtained from a non-party in accordance with the Federal Rules of Civil Procedure and subject to

all the procedures and protections set forth in any protective orders agreed to or entered in this

Action. The Parties will meet and confer before serving any subpoenas in this matter on

commercial e-mail providers, such as Google or Yahoo, or any social media companies, such as

Facebook or Twitter.

       E.      Modification. Any practice or procedure set forth in this Protocol may be modified

by written agreement of the Parties.

       F.      Dispute Resolution. The Parties will act in good faith to try and resolve any
                         giving informal notice, along with a certification of the effort made, to     B.Y.P.
disputes regarding the issues set forth in this Protocol prior to filing a motion with the Court or
                                                                                      ^
otherwise seeking relief. Regarding all disputes, if the Parties are unable to resolve the dispute


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after a good faith effort, the Parties may seek Court intervention in accordance with the Court’s

procedures.


 AGREED AS TO FORM

 Dated: June 26, 2023                 Respectfully submitted,



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IT IS SO ORDERED.



   June 29, 2023
_______________________________          /s/ Benita Y. Pearson
                                        ______________________________________
 Date                                   The Honorable Benita Y. Pearson
                                        United States District Judge




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              APPENDIX A – ADDITIONAL PRODUCTION SPECIFICATIONS

    1. Native Production. Except with regard to Email files, structured data, and redacted

documents that are not spreadsheets, all ESI shall be produced in native format. This provision

shall not prevent the Parties from later agreement in writing to a production format other than

native for certain files or filetypes.

    2. Image Formatting. Emails will be produced as static TIFF images.

            a. Where a document produced in image format contains color, and that color is

necessary for understanding of the document, such images will be produced in color, without the

need for a specific request by the receiving Party, by default. Other images may be produced in

black and white.

            b. When imaged, all documents shall include and show field codes.

            c. TIFF images shall be processed and produced in a manner that maintains and

displays (i.e., shall force on) all hidden columns or rows, hidden text or worksheets, speaker or

presenter notes, and tracked changes and comments (maintained as last saved). If a file ordinarily

to be produced as an image under this ESI Protocol cannot be produced in such a manner, the

native version shall be produced absent other agreement of the Parties. This provision does not

require the production of privileged material and does not alter a Producing Party’s ability to

withhold or redact privileged information from the types of content listed in this paragraph.

            d. If a document otherwise subject to production in image format under this ESI

Protocol cannot be converted to an image without error due to password protection, corruption or

some other issue that renders the document unreviewable, the document shall be produced in native

format.




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   3. Metadata. No Party has an obligation to create or manually code metadata that does not

exist as part of the original metadata of the document. The Parties agree to meet and confer to the

extent such information cannot be automatically populated with industry standard ESI processing

tools. The Parties shall provide non-privileged information in the metadata fields attached as

Appendix B associated with each document produced in a Concordance-format delimited file with

a .DAT file extension. The first line shall be the header with field names, and each subsequent line

shall contain the fielded data for each document. When a document is withheld for attorney-client

privilege or work product, all metadata for the withheld document is excluded from the .DAT file.

   4. Text Files. Each document produced in image format under this ESI Protocol shall be

accompanied by a text file containing the text for that document. Each text file shall be named

using the Bates Number of the first page of the corresponding production item and the production

load file shall contain a path link to the produced text file in the “TEXTLINK” metadata field

described in Appendix B.

           a. Unredacted documents. The text of each unredacted ESI item produced in image

format shall be extracted directly from the native file to the extent technically possible. OCR will

be used to provide text for the following record types that typically do not have text available to

extract: hard-copy documents, .JPG, .JPEG, .TIF, .TIFF, and .PDF.

           b. Redacted documents. To the extent that a document is redacted, the text files shall

not contain the text of the redacted portions, but shall indicate where the redactions were made, and

the text of the Producing Party’s redaction label. The Producing Party may use OCR of redacted

images to provide text for redacted documents.

   5. Bates Numbering.

           a. A Producing Party should use a consistent format for the Bates numbers it uses

across its productions.


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           b. Bates numbers will be created so as to identify the Producing Party, and each

Producing Party shall use a consistent prefix and number padding across their respective

productions.

           c. Numerical suffixing is permitted where re-production of documents occurs.

           d. For a document produced in image format, the Bates number will be electronically

“burned” onto the image at a location that does not obliterate or obscure any information from the

source document.

           e. For a document produced in native format such that “burning” a Bates number onto

each page is not possible, the document’s Bates number shall be affixed to the document by an

alternative means, such as to the file name of the produced native document. The database record

for that file shall include a single-page image branded with this Bates number, any confidentiality

designation, and the phrase “Document Produced Natively.” The production load file shall contain

a path link to the produced native file as specified in the “NATIVELINK” metadata field described

in Appendix B.

           f. Should a Bates number or other designation obscure any information originally

appearing on the document, the Producing Party will reproduce such document upon reasonable

request.

   6. Natives Requiring Redaction. Redacted spreadsheet files, including Microsoft Excel files,

will be redacted natively. If a document that otherwise would be produced in native format requires

redaction, and such document is not a spreadsheet, it may be produced in image format or as a

redacted native, along with the corresponding redacted text. The Producing Party shall, however,

make reasonable efforts to ensure that any such documents that are produced only as images are




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formatted so as to be readable. Documents produced in native format with redactions must also be

maintained in unredacted form.




                   APPENDIX B – METADATA PRODUCTION FIELDS

   FIELD NAME                    FIELD DESCRIPTION                            DOCUMENT
                                                                              TYPE
                                 First Bates Number associated with           All
   BEGINDOC
                                 document (including prefix)
                                 Last Bates Number associated with            All
   ENDDOC
                                 document (including prefix)
                                 First Bates Number (i.e., BeginDoc) of       All
   BEGATTACH                     parent document in the family (including
                                 prefix)
                                 Last Bates Number (i.e., EndDoc) of last     All
   ENDATTACH
                                 child in the family (including prefix)
                                 Number of Bates Numbers associated           All
                                 with document (i.e., BeginDoc to
   PAGECOUNT                     EndDoc) (corresponds to number of
                                 pages for documents produced in image
                                 format)
                                 Number of attachments; populated for         Email
   ATTACHMENTCOUNT
                                 parent email records only
                                 Source of document (e.g., individual         All
   CUSTODIAN                     custodian name, database or archive
                                 name, shared area, etc.)
                                 When global deduplication has been           All
   ALLCUSTODIANS                 employed, all custodians who are sources
                                 of an identical document
   NATIVE TYPE                   Type of native file loaded into the system   Email, EFiles
   FILEEXTENSION                 File extension of document                   Email, EFiles
   FILENAME                      File name of document                        Email, EFiles
   FILESIZE                      Size of the file in bytes                    Email, EFiles
                                 File path to native file as it existed in    Email, EFiles
   FILEPATH
                                 original environment




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FIELD NAME             FIELD DESCRIPTION                           DOCUMENT
                                                                   TYPE
                       When global deduplication has been          Email, EFiles
ALLFILEPATHS           employed, file path to native for sources
                       of an identical document
                       Date (mm/dd/yyyy) and time (hh:mm:ss)       Email
DATETIMESENT
                       the parent email was sent
DATETIMERECEIVED       Date (mm/dd/yyyy) and time (hh:mm:ss)       Email
                       the parent email was received
                       Date (mm/dd/yyyy) and time (hh:mm:ss        EFiles and
DATETIMECREATED
                       format) that non-email data was created     Attachments
                       Date (mm/dd/yyyy) and time that             EFiles and
DATELASTMODIFIED       (hh:mm:ss format) that non-email data       Attachments
                       was last modified
AUTHOR                 Author field where available                EFiles
                       To field extracted from email file types    Email
TO                     (not populated for attachments unless
                       they are also emails)
                       From field extracted from email file        Email
FROM                   types (not populated for attachments
                       unless they are also emails)
                       CC field extracted from email file types    Email
CC                     (not populated for attachments unless
                       they are also emails)
                       BCC field extracted from email file types   Email
BCC                    (not populated for attachments unless
                       they are also emails)
                       Subject line extracted from email file      Email
SUBJECT                types (not populated for attachments
                       unless they are also emails)
CONVERSATION                                                       Email
                       Email thread created by the email system
INDEX
                       Start date and time (mm/dd/yyyy             Email
DATESTARTED
                       hh:mm:ss) for calendar appointments
TITLE                  Title field where available                 EFiles
                       Level of Confidentiality per Protective     All
CONFIDENTIALITY
                       Order
                       Does the document contain redactions        All
REDACTED
                       (Y/N)?


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FIELD NAME             FIELD DESCRIPTION                           DOCUMENT
                                                                   TYPE
                       Redaction reason designation (will be       All
REDACTION REASON
                       blank for documents without redactions)
                       Document-level MD5 or SHA1 hash             All
HASHVALUE
                       value
                       Time zone in which the native file was      Email, EFiles
TIME ZONE
                       processed
                       Path and filename to produced native file   Email, EFiles
NATIVELINK             format (see Paragraph 4(e) in Appendix
                       A)
                       Link to text file (see Paragraph 3 in       All
TEXTLINK
                       Appendix A)
                       Unique identifier for the production in     All
PRODUCTIONVOLUME
                       which the document is contained




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